                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

 UNITED STATES OF AMERICA                           )
                                                    )
 v.                                                 )   NO. 3:22-cr-00282
                                                    )   JUDGE RICHARDSON
 GLEN CASADA                                        )
 CADE COTHREN                                       )


                                              ORDER

       The trial in this case is scheduled for October 25, 2022 beginning at 9:00 a.m. The pretrial

conference is scheduled for October 14, 2022 at 3:00 p.m. All lawyers who will try the case shall

attend the pretrial conference; as indicated below, the time slot for the pretrial conference

alternatively may (upon advance notice to the Court) be used as a change-of-plea hearing, but it is

not intended to be a status conference and so counsel should plan and prepare accordingly.

       All pretrial motions shall be filed no later than six weeks prior to the above-stated trial date.

If a party does not meet this deadline, or any later deadline obtained via a timely motion to

extend the deadline, it may be deemed to have waived any right to file pretrial motions. A

response to a motion shall be filed within fourteen days after the filing of the motion. A reply in

support of a motion, should the movant choose to submit one, shall be filed within seven days after

the filing of the response.

                                           Change of Plea

       Any plea agreement shall be consummated no later than two weeks before the above-stated

trial date, and the Courtroom Deputy so notified. Likewise, if the Defendant opts to plead guilty

without a plea agreement, the Courtroom Deputy shall be so notified no later than two weeks

before the above-stated trial date. If a plea agreement is submitted or if the Defendant opts to plead




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guilty without a plea agreement, the hearing to take the plea will take place on October 14, 2022

at 3:00 p.m., or at such earlier time as the Court may schedule upon request of the parties.

        By noon three days prior to the plea hearing, in advance of any plea hearing, the

Government shall submit to chambers the proposed plea agreement (if any) and the plea elements,

and counsel for Defendant shall submit a plea petition.

        If the case is to be tried, the parties shall file the following by 4:00 p.m. on the Tuesday

before trial:

        1.      An agreed set of case specific jury instructions, with citations to supporting
                authorities.

        2.      Alternative versions of jury instructions on which there is not an agreement, with
                citations to supporting authorities.

        3.      An agreed verdict form or alternative versions.

        4.      Motions in limine.

        Responses to motions in limine shall be filed by 4:00 p.m. on the Friday before trial.

Parties shall email a Word/Wordperfect version of all proposed instructions and verdict forms that

are filed to richardson_chambers@tnmd.uscourts.gov.

        Any motion to continue the trial shall be filed no later than two weeks prior to the trial date,

and any opposition shall be filed no later than two days after the motion to continue. All defense

motions to continue shall be accompanied by a Waiver of Speedy Trial.

        The parties are forewarned that motions filed after the deadlines set forth herein may not

be considered by the Court.

        Counsel for the parties shall comply timely with the discovery and motion provisions of

LCrR 12.01 and 16.01.

        The Defendant shall attend all Court proceedings in this case. If the Defendant is in




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custody, the Government shall take all necessary actions to secure the timely presence of the

Defendant at all Court proceedings. Counsel for the Defendant shall make sure that street clothes

are available timely for the Defendant at trial.

       IT IS SO ORDERED.



                                               ____________________________________
                                               ELI RICHARDSON
                                               UNITED STATES DISTRICT JUDGE




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